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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF DELAWARE

                                               )
IN RE: SENSIPAR (CINACALCET
HYDROCHLORIDE TABLETS)                         )   MDL No. 19-2895-LPS
ANTITRUST LIGITATION                           )   This document relates to all actions.
                                               )

                                  NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on December 9, 2019, the following document was

served on the persons listed below in the manner indicated:

       1)    Teva Pharmaceuticals USA Inc.’s Initial Disclosures

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